Form B 250B (12/09)


                                    United States Bankruptcy Court
                                     Middle District of Tennessee


In re:

ART BRIAN SHANNON,
BARBARA CHRISTY SHANNON,

                       Debtor(s).                     Bankruptcy Case No. 22-00934
                                                      Chapter 13
                                                      Judge MASHBURN




ART BRIAN SHANNON,
and BARBARA CHRISTY SHANNON,


               Plaintiff(s)                           Adversary
                                                      Proceeding No. 1:22-ap-90129

v.

SELECT PORTFOLIO SERVICING INC.,
INDENTURE TRUSTEE OF CIM TRUST 2021-NR3,

               Defendant(s)



                SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                      IN AN ADVERSARY PROCEEDING

To the Defendant(s): YOU ARE SUMMONED and required to file a motion or answer to the
complaint which is attached to this summons with the clerk of the bankruptcy court within 30 days
after the date of issuance of this summons, except that the United States and its offices and agencies
shall file a motion or answer to the complaint within 35 days.




                              UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                   701 BROADWAY, ROOM 170
                                      NASHVILLE, TN 37203



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At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                NAME AND ADDRESS OF PLAINTIFF'S ATTORNEY:

                                          Keith D. Slocum
                                      Harlan, Slocum & Quillen
                                            P.O. Box 949
                                       Columbia, TN 38402




If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the
complaint will be held at the following time and place:



                UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF TENNESSEE

                Toll-Free Call-In Number:
                      1-833-568-8864                              DATE & TIME
                 Meeting ID 161 2444 4713                         11/16/2022
                                                                  1:45 p.m.


If you fail to respond to this summons, your failure will be deemed to be your consent to
entry of a judgment by the bankruptcy court and judgment by default may be taken against
you for the relief demanded in the complaint.


To the Plaintiff(s): You must serve this Summons and Notice of Pretrial Conference together with
the complaint no later than 7 days after the issuance date shown below. If more than 7 days pass
before service is completed, a new summons must be requested and served.



9/27/2022                                            /s/    Teresa C. Azan
Issuance Date                                               Clerk of the Bankruptcy Court

                                               By: /s/      Lolitha Scruggs
                                                            Courtroom Deputy Clerk




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                                       CERTIFICATE OF SERVICE

     Keith D. Slocum
I, __________________________________________certify that service of this summons and a copy of
                        9/30/22
the complaint was made ______________________ by:
x Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:
   Select Portfolio Servicing Inc, c/o Corporation Service Company, 2908 Poston Ave, Nashville, TN 37203-1312
   Indenture Trustee of CIM Trust 2021-NR3, c/o Select Portfolio Servicing Inc, PO Box 6522501, Salt Lake City, UT
   84165-0250

 Personal Service: By leaving the process with the defendant or with an officer or agent of defendant at:



 Residence Service: By leaving the process with the following adult at:




 Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
 addressed to the following officer of the defendant at:




 Publication: The defendant was served as follows: [Describe briefly]



 State Law: The defendant was served pursuant to the laws of the State of _____, as follows: [Describe
 briefly]



 If service was made by personal service, by residence service, or pursuant to state law, I further certify
 that I am, and at all times during the service of process was, not less than 18 years of age and not a party
 to the matter concerning which service of process was made.

        Under penalty of perjury, I declare that the foregoing is true and correct.


Date   9/30/22                                      Signature /s/ Keith D. Slocum



                                                     Keith D. Slocum
        Print Name:
                                                     Harlan, Slocum & Quillen
        Business Address:
                                                     39B Public Square, PO Box 949, Columbia, TN 38402-0949
                                                    ______________________________________________




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                Debtor(s).                                 Bankruptcy Case No. 22-00934
                                                           Chapter 13
                                                           Judge MASHBURN



ART BRIAN SHANNON,
and BARBARA CHRISTY SHANNON,


                Plaintiff(s)                               Adversary
                                                           Proceeding No. 1:22-ap-90129

v.

SELECT PORTFOLIO SERVICING INC.,
INDENTURE TRUSTEE OF CIM TRUST 2021-NR3,

                Defendant(s)




                               PRELIMINARY PRETRIAL ORDER

         The party responsible for serving the summons shall, along with the summons, serve a copy of
this Preliminary Pretrial Order on all parties.

         COUNSEL FOR ALL PARTIES ARE ORDERED to confer with all opposing counsel and
pro se parties at least seven (7) days before the pretrial conference, and together prepare in writing and
file no less than five (5) days prior to the pretrial conference, a JOINT DOCUMENT, captioned
"PRETRIAL STATEMENT" containing the following:

                                            FOR PLAINTIFF
        1.      A brief statement of each claim or cause of action.
        2.      A brief summary of plaintiff's contentions of fact in support of each claim or cause of
action and the evidence to be relied upon to establish those facts.




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                                          FOR DEFENDANT

       1.       A brief statement of each defense.
       2.       A brief summary of defendant's contentions of fact in support of each defense and the
evidence to be relied upon to establish those facts.

     FOR THE INTERVENOR(S), THIRD-PARTY PLAINTIFF(S), (DEFENDANTS), ETC.

       1.       A brief statement of each claim, cause of action or defense.
       2.       A brief summary of facts in support of each claim, cause of action or defense, and the
evidence to be relied upon to establish those facts.

                                          FOR ALL PARTIES

        1.      A statement of all admitted or uncontested facts.
        2.      Each party's brief statement of contested facts.
        3.      Each party's brief statement of contested legal issues.

        All of the above is to be incorporated in one document which is to be signed by all attorneys and
pro se parties prior to the filing. Failure to comply with this order may result in dismissal of the
action, default, the assessment of costs and attorneys' fees or other appropriate remedies.


        ORDERED this 27th day of September, 2022.


                                                          /s/ RANDAL S. MASHBURN
                                                                U.S. BANKRUPTCY JUDGE




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